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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                   CHARLESTON DIVISION


Gloria Nance-Williams,                        )             Case No.: 2:20-cv-01584-DCN
                                              )
                                  Plaintiffs, )
                                              )
                    v.                        )
                                              )
                                                     MOTION TO COMPEL SETTLEMENT
Target Stores, Target Stores, Inc., Target    )
Corporate Services, Inc. and Target           )
Corporation,                                  )
                                              )
                               Defendants. )

TO:    JERRY WIGGER, ESQUIRE, ATTORNEY FOR THE PLAINTIFF AND TO THE
       PLAINTIFF ABOVE-NAMED:

       COMES NOW the Defendants, through Counsel, for an Order pursuant to Rules 26, 30

and 37 of the Federal Rules of Civil Procedure, requesting this Honorable Court to compel and

enforce the terms and conditions of the settlement voluntarily entered into and agreed to by all

parties to the above-captioned matter. Because a full explanation of the motion as required by

LOCAL CIV. RULE 7.04 (D.S.C.) is contained within this motion and a separate memorandum

would serve no useful purpose, a separate memorandum of law does not accompany this

document.

                                      NATURE OF THE CASE

       This case concerns an accident at a Target store that occurred while Plaintiff was

shopping. She alleges that she was searching for a shelved item when a bottle of cleaner fell from

the top shelf, struck her in the head and spilled onto the floor.




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                                    FACTUAL BACKGROUND

       The Plaintiff and Defendants settled this matter in April 2021. Plaintiff is a Medicare

beneficiary. Defendants have proposed issuing two checks to Plaintiff’s counsel—one payable

to the Plaintiff/counsel and the second made payable to Medicare for the amount of the final

demand the Centers for Medicaid and Medicare Services (CMS) makes on its lien. Plaintiff

counsel opposes this method of payment, insisting that single check be issued to

Plaintiff/counsel.

                                             ARGUMENT

       The United States District Court for the Southern District of Florida provides a succinct

history of the Medicare statutes that inform this particular case:

           At the time of its inception, Medicare served as the primary payer of all its
           beneficiaries’ medical costs. However, Congress altered the Medicare payment
           scheme in 1980, in an effort to reduce escalating costs, adding the Medicare
           Secondary Payer provisions (“MSP”) to the Medicare Act. Under the MSP
           provisions, codified at 42 U.S.C. § 1395y, Medicare is to serve as the “secondary
           payer” to other sources of coverage. In other words, Medicare serves as a back-up
           insurance plan to cover that which is not paid for by a primary insurance plan. The
           MSP provisions provide that Medicare cannot pay medical expenses when payment
           has been made or can reasonably be expected to be made under a … liability
           insurance policy or plan (including a self-insured plan) or no fault insurance. If a
           primary plan has not made or cannot reasonably be expected to make payment, the
           Secretary is authorized to make a conditional payment. However, since Medicare
           remains the secondary payer, the primary plan must then reimburse Medicare for all
           conditional payments.

Humana Med. Plan, Inc. v. W. Heritage Ins. Co., 94 F. Supp. 3d 1285, 1289 (S.D. Fla. 2015),

aff'd, 832 F.3d 1229 (11th Cir. 2016) (internal citations omitted) (emphasis added).

       There is a dearth of law on this issue in South Carolina, save for the District Court’s order

in Humana Ins. Co. v. Bi-Lo, LLC. No. 4:18-CV-2151-DCC, 2019 WL 4643582, at 1 (D.S.C.

Sept. 24, 2019). In that case, Humana (standing in the shoes of Medicare as an Advantage Plan

provider) sued Bi-Lo for payments it made on behalf of one of its enrollees when she was

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allegedly injured in a Bi-Lo store. Id. Bi-Lo settled with the enrollee and disbursed the settlement

proceeds directly to the enrollee. Id. When the enrollee failed to satisfy a Humana lien from the

settlement award, Humana sued Bi-Lo, alleging that it was a secondary payor. Id.

       Although the District Court addressed a number of issues unique to Advantage Plans, in

denying the motion to dismiss, the Court acknowledged the reasonableness of—and indeed

recommended—the practice of conditioning “settlement on Enrollee providing the conditional

payment amount during settlement negotiations or refusing to issue a check directly to the

enrollee without ensuring the [Medicare] conditional payments are satisfied.” Humana, *4.

(emphasis added).

       Defendants have requested numerous times, yet have not received, the final demand letter

regarding Plaintiff’s outstanding Medicare liens related to this case. Although a check for the

Medicare lien will be made out to Medicare (or Benefits Coordination & Recovery Center) and

the balance in a second check made directly to Plaintiff/counsel, the check to Medicare will be

mailed to Plaintiff’s counsel to forward onto Medicare. This allows both the Plaintiff and

Defendants to meet their duties under the Medicare statute to see that Medicare’s lien is satisfied.

At present, Plaintiff’s refusal to provide the lien amount in order to avoid the issuance of two

checks is preventing Defendants from satisfying their obligations under the Medicare Secondary

Payor Act to ensure that Medicare’s lien is satisfied. The check proposal does not at all inhibit

Plaintiff’s own obligations as she will undertake the transfer of that check to Medicare.

Defendants’ proposal is the only proposal that ensures all parties’ obligations under Federal law

are met.




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                                            CONCLUSION

       For the foregoing reasons, Defendants respectfully request that settlement be compelled and

that Defendants be permitted to issue a check made payable to Medicare (or the BCRC) and a

second check for the balance of the settlement directly to Plaintiff/counsel.

                                               Respectfully submitted,

                                               SWEENY, WINGATE & BARROW, P.A.


                                               s/Ryan C. Holt
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                                               ATTORNEYS FOR THE DEFENDANTS


Columbia, South Carolina

November 11, 2021




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